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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION

  TAYVIN GALANAKIS,                            CASE NO. 4:23-cv-00044
       Plaintiff,

  v.
                                               PLAINTIFF/COUNTERCLAIM
                                               DEFENDANT’S RESISTANCE TO
  CITY OF NEWTON, IOWA, et al.,
                                               COUNTERCLAIM PLAINTIFF’S
        Defendants.
                                               MOTION FOR PARTIAL
                                               SUMMARY JUDGMENT
  NATHAN WINTERS AND CHRISTOPHER
  WING,                                        *FILED UNDER SEAL*
        Counterclaim Plaintiffs,

  v.

  TAYVIN GALANAKIS,
       Counterclaim Defendant.


        COMES     NOW     the   Counterclaim    Defendant    and   in   Resistance    to

Counterclaim Plaintiff Nathan Winters’ Motion for Partial Summary Judgment

states:

        1.    Counterclaim Plaintiff Nathan Winters seeks summary judgment as to

liability on his counterclaims for defamation and false light invasion of privacy.

        2.    Plaintiff has attached a Brief, Response to Counterclaim Plaintiff’s

Statement of Undisputed Material Facts, a Statement of Additional Material Facts,

and an Appendix in resistance.

        3.    As set out therein, Officer Winters cannot establish either his claim for

defamation or false light invasion of privacy and is not entitled to summary judgment.
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      WHEREFORE, the Counterclaim Defendant prays Counterclaim Plaintiff

Nathan Winters’ Motion for Partial Summary Judgment be denied, and for any

additional relief in his favor this Court finds just and necessary.

                                 GRIBBLE, BOLES, STEWART & WITOSKY LAW

                                    BY: /s/ Adam C. Witosky _______________________
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                                            PROOF OF SERVICE
               The undersigned certifies that the foregoing instrument was electronically filed on
      CM/ECF on January 18, 2024. Subject to the exceptions cited therein, Local Rule 5A provides
      this electronic filing, once electronically posted to the registered case party’s CM/ECF account,
      constitutes service for purposes of the Federal Rules of Civil Procedure.
               Copies have been provided to all registered parties because once the document is posted,
      those parties can view and download the presented or filed document.

                                                  /s/ Tami Fairchild




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